Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.13 Page 1 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.14 Page 2 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.15 Page 3 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.16 Page 4 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.17 Page 5 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.18 Page 6 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.19 Page 7 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.20 Page 8 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.21 Page 9 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.22 Page 10 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.23 Page 11 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.24 Page 12 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.25 Page 13 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.26 Page 14 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.27 Page 15 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.28 Page 16 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.29 Page 17 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.30 Page 18 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.31 Page 19 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.32 Page 20 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.33 Page 21 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.34 Page 22 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.35 Page 23 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.36 Page 24 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.37 Page 25 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.38 Page 26 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.39 Page 27 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.40 Page 28 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.41 Page 29 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.42 Page 30 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.43 Page 31 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.44 Page 32 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.45 Page 33 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.46 Page 34 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.47 Page 35 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.48 Page 36 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.49 Page 37 of 38
Case 3:19-cv-01195-WVG Document 1-2 Filed 06/26/19 PageID.50 Page 38 of 38
